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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                  8:07CR371
      vs.                                   )
                                            )                    ORDER
EDILBERTO GUEMBES                           )
HERNANDEZ,                                  )
                                            )
                    Defendant.


       This matter is before the court on defendant's unopposed MOTION TO EXTEND TIME
FOR FILING PRETRIAL MOTIONS AND TRIAL DATE [11]. For good cause shown, I find that the
motion should be granted in part. The defendant will be given an approximate 30-day
extension. Pretrial Motions shall be filed by December 24, 2007.

      IT IS ORDERED:

       1.    Defendant's MOTION TO EXTEND TIME FOR FILING PRETRIAL MOTIONS AND
TRIAL DATE [11] is granted in part. Pretrial motions shall be filed on or before December
24, 2007. Trial will be set by further order of the court.

      2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.      The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between November
23, 2007 and December 24, 2007, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).

      DATED this 26th day of November, 2007.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
